Case 1:25-cv-00165-BAH Docume

nt1-1 Filed 01/20/25

CIVIL COVER SHEET

JS-44 (Rey. 11/2020 DC)

Page 1 of 2

I. (a) PLAINTIFFS
Center for Biological Diversity

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF 88888
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

Office of Management and Budget

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S. PLAINTIFF CASES ONLY)
NOTE INLAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN)
Tanya Sanerib; Center for Biological Diversity
P.O. Box 11374; Portland, OR 97211; (206) 379-7363
Jason Rylander; Center for Biological Diversity
1411 K Street NW, Washington DC 20005 (202) 744-2244
II. BASIS OF JURISDICTION II. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE ANx IN ONEBOX FOR
(PLACE AN x IN ONE BOX ONLY) PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
. PIF DFT PIF DFT
1 U.S. Govemment O 3 Federal Question
Plamtiff (U.S. Goverment Not a Party) | Citizen of this State O 1 O 1 Incorporated or Principal Place O 4 O 4
of Busmess m This State
2 US. Govemment 4 Diversity Citizen of Another State 2 2 = 5 5
© Defemciant O Cadicate Citizeuship of O02 O Incorporated and Principal Place O> Oo
Parties in item III) of Busmess m Another State
Citizen or Subject ofa O 3 oO 3
Foreign Country Foreign Nation O 6 Oo 6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

O A. Antitrust |O B. Personal Injury/ O C. Administrative Agency
Malpractice Review
[410 Antitrust [__] 310 Airplane [_] 151 Medicare Act
[__] 315 Airplane Product Liability
[1] 320 Assault, Libel & Slander Social Security
[_] 330 Federal Employers Liahility [_] 861 BIA (1395¢f)
[_] 340 Marine [J 862 Black Lung (923)
[__] 345 Marine Product Liability = 863 DIWC/DIWW (405(g))
[_] 350 Motor Vehicle 864 SSID Title XVI

[-] 355 Motor Vehicle Product Liability CI

C] 367 Health Care/Pharmaceutical
Personal Injury Product Liability
[__] 368 Asbestos Product Liability

865 RSI (405(g))

CI 360 Other Personal Injury Po Sst neicultural Acts
[] 362 Medical Malpractice
_] 365 Product Liability [__] 893 Environmental Matters
> : [__] 890 Other Statutory Actions (If

Administrative Agency is
Involved)

O D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(f Antitrust, then A governs)*

O E. General Civil (Other) OR O F. ProSe General Civil
Real Property Bankruptcy Federal Tax Suits
[__] 210 Land Condemnation [__] 422 Appeal 28 USC 158 [_] 870 Taxes (US plaintiff or [__] 465 Other Immigration Actions
[-] 220 Foreclosure [__] 423 Withdrawal 28 USC 157 defendant) [_] 470 Racketeer Influenced
[__] 230 Rent, Lease & Ejectment [_] 871 IRS-Third Party 26 USC & Corrupt Organization
[] 240 Torts to Land pope Petitions Ie 7609 [] 480 Consumer Credit
5 allt: 535 Dea enalty

[] 245 Tort Product Liability [| 540 Mandamus & Other Forfeiture/Penalty [1485 Telephone Consumer
[__] 290 All Other Real Property CJ 550 Guil Rights [] 625 Drug Related Seizure of Protection Act (TCPA)
Personal Property Cc] 555 Prison Conditions Property 21 USC 881 [1 490 Cable/Satellite TV

555 we es

[] 850 Securities/C dities/
[1370 Other Fraud [_] 560 Civil Detainee — Conditions [1 690 Other a
: . Exchange

[371 Truth in Lending of Confinement Other Statutes [1896 Arbitration
C] 380 Other Personal Property °

Damage paapente-Bizhts
Cl 385 Property Damage 820 Copyrights

Product Liability [1] 830 Patent

CI] 835 Patent — Abbreviated New
Drug Application

[_] 840 Trademark

CJ 880 Defend Trade Secrets Act of
2016 MTSA)

C] 375 False Claims Act

[__] 376 Qui Tam (31 USC
3729(a))

CI 400 State Reapportionment

[_] 430 Banks & Banking

[J 450 Commerce/ICC Rates/etc

[__] 460 Deportation

CI 462 Naturalization
Application

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

[__] 890 Other Statutory Actions
Gif not administrative agency
review or Privacy Act)

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©O G. Habeas Corpus/ © H. Employment © I. FOIA/Privacy Act © J. Student Loan
2255 Discrimination
[__] 530 Habeas Corpus — General [J 442 Civil Rights — Employment [X] 895 Freedom of Information Act [J 152 Recovery of Defaulted
[__] 510 Motion/Vacate Sentence (criteria: race, gender/sex, [] 890 Other Statutory Actions Student Loan
CJ 463 Habeas Corpus — Alien national origin, (if Privacy Act) (excluding veterans)
Detainee discrimination, disability, age,
religion, retaliation)
*(If pro se, select this deck)* *(f pro se, select this deck)*
©O K. Labor/ERISA © L. Other Civil Rights O M. Contract O N. Three-Judge
(non-employment) (non-employment) Court
CJ 110 Insurance
[J 710 Fair Labor Standards Act [_]441 Voting (if not Voting Rights [] 120 Marine [7] 441 Civil Rights — Voting
[__] 720 Labor/Mgmt. Relations Act) [__] 130 Miller Act (if Voting Rights Act)
C] 740 Labor Railway Act C] 443 Housing/Accommodations C_] 140 Negotiable Instrument
[__] 751 Family and Medical [__]440 Other Civil Rights [J 150 Recovery of Overpayment
Leave Act C] 445 Americans w/Disabilities — & Enforcement of
[__] 790 Other Labor Litigation Employment Judgment
CJ 791 Empl. Ret. Inc. Security Act [J 446 Americans w/Disabilities — Cc] 153 Recovery of Overpayment
Other of Veteran’s Benefits
[__]448 Education [__] 160 Stockholder’s Suits
CJ 190 Other Contracts
[J 195 Contract Product Liability
[_] 196 Franchise
V. ORIGIN
© 10riginal © 2Removed © 3Remanded © 4Reinstated © 5Transferred © 6 Multi-district © 7 Appeal to © 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File

Judge

VI. CAUSE OF ACTION (CITE THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
5 U.S.C. § 552 - Failure to make a timely determination on a FOIA request

VII. REQUESTED IN CHECKIF THIS IS A CLASS DEMAND $ Check YES only if demanded in complaint
COMPLAINT ACTION UNDERF RCP 23 JURY DEMAND: YEs[__] No
VIII. RELATED CASE(S) (See instruction) YES | NO If yes, please complete related case form
IF ANY Lx]
DATE: Jan. 20, 2025 SIGNATURE OF ATTORNEY OF RECORD s/ Tanya Sanerib

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS44 civil cover sheet and the mformation contaimed herem neither replaces nor supplements the filmgs and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United Statesm September 1974. 1s required for the use of the
Clerk of Court for the purpose of imitiating the civil docket sheet. Consequently,a ctvil cover sheet is submitted to the Clerk of Court for each civil complamt filed.
Listed below are tips for completing the civil coversheet. These tips coimcide with the Roman Numerals on the cover sheet.

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plamtiff if resident
of Washington, DC, 88888 if plamtiffis resident of United States butnot Washmgton, DC, and 99999 if plamtiffis outside the United States.

Ii. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Junsdiction
under Section IT.

IV. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment ofa judge to your case will depend on the category you select that best

represents the pnmary cause of action found m your complamt. You may select only onecategory. You mustalso select one corresponding
nature of suit found underthe category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Crvil Statute under which you are filmg and wnte a bnef statement of the pnmary cause.

Viti. RELATED CASE(S), IF ANY: If you indicated that there 1s a related case, you must complete a related case form, which may be obtained from
the Clerk’s Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the mformation provided pnor to signing the fom.
